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                                                                     OFFICIAL LOCAL FORM 3


                                                       UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF MASSACHUSETTS

                                                            CHAPTER 13 PLAN COVER SHEET

 Filing Date:               March 23, 2016                                       Docket #:
 Debtor:                    Donald E Johnson                                     Co-Debtor:
 SS#:                       xxx-xx-5711                                          SS#:
                            100 Taylor Street
 Address:                   Quincy, MA 02170                                     Address:

 Debtor's Counsel: Richard D. Smeloff 567869ATY
                            500 Granite Ave
                            Suites 7&8
 Address:                   Milton, MA 02186
 Telephone #:               617-690-2124
 Facsimile #:               617-690-2506


ATTACHED TO THIS COVER SHEET IS THE CHAPTER 13 PLAN FILED BY THE DEBTOR(S) IN THIS CASE. THIS
PLAN SETS OUT THE PROPOSED TREATMENT OF THE CLAIMS OF CREDITORS. THE CLAIMS ARE SET
FORTH IN THE BANKRUPTCY SCHEDULES FILED BY DEBTOR(S) WITH THE BANKRUPTCY COURT.


YOU WILL RECEIVE A SEPARATE NOTICE FROM THE BANKRUPTCY COURT OF THE SCHEDULED
CREDITORS' MEETING PURSUANT TO 11 U.S.C. § 341. THAT NOTICE WILL ALSO ESTABLISH THE BAR DATE
FOR FILING PROOFS OF CLAIMS.


PURSUANT TO THE MASSACHUSETTS LOCAL BANKRUPTCY RULES, YOU HAVE UNTIL THIRTY (30) DAYS
AFTER THE § 341 MEETING OR THIRTY (30) DAYS AFTER THE SERVICE OF AN AMENDED OR MODIFIED
PLAN TO FILE AN OBJECTION TO CONFIRMATION OF THE CHAPTER 13 PLAN, WHICH OBJECTION MUST BE
SERVED ON THE DEBTOR, DEBTOR'S COUNSEL AND THE CHAPTER 13 TRUSTEE.




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                                                                     OFFICIAL LOCAL FORM 3

                                                        UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF MASSACHUSETTS

                                                   PRE-CONFIRMATION CHAPTER 13 PLAN

                                                                        CHAPTER 13 PLAN


       Docket No.:

 DEBTOR(S):                (H)      Donald E Johnson                                                      SS#   xxx-xx-5711

                           (W)                                                                            SS#



I. PLAN PAYMENT AND TERM:

      Debtor's shall pay monthly to the Trustee the sum of $                 990.00    for the term of:

          36 Months. 11 U.S.C. § 1325(b)(4)(A)(i);

          60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii);

          60 Months. 11 U.S.C. § 1322(d)(2). Debtor avers the following cause:

                                                                                                                                                ;or

                  Months. The Debtor states as reasons therefore:




II. SECURED CLAIMS

A. Claims to be paid through the plan (including arrears):

 Creditor                                             Description of Claim (pre-petition arrears,                         Amount of Claim
                                                      purchase money, etc.)
 Ditech Financial Llc                                 Pre-petition arrears                                $                         52,458.00

         Total of secured claims to be paid through the Plan $                     52,458.00
B. Claims to be paid directly by debtor to creditors (Not through Plan):
Creditor                                                                 Description of Claim
 Ditech Financial Llc                                                   Mortgage

C. Modification of Secured Claims:

 Creditor                                                   Details of Modification                                Amt. of Claim to Be Paid
                                                            (Additional Details                                               Through Plan
                                                            May Be Attached)
 -NONE-




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D. Leases:

            i.    The Debtor(s) intend(s) to reject the residential/personal property lease claims of
                      -NONE-
                  ; or

            ii. The Debtor(s) intend(s) to assume the residential/personal property lease claims of
                      -NONE-
                  .

            iii. The arrears under the lease to be paid under the plan are             0.00 .

III. PRIORITY CLAIMS

A. Domestic Support Obligations:

 Creditor                                             Description of Claim                                        Amount of Claim
 -NONE-                                                                                               $

B. Other:

 Creditor                                             Description of Claim                                        Amount of Claim
 -NONE-                                                                                               $

 Total of Priority Claims to Be Paid Through the Plan $ 0.00


IV. ADMINISTRATIVE CLAIMS

A. Attorneys fees (to be paid through the plan):                                                                    $   1,000.00

B. Miscellaneous fees:

 Creditor                                             Description of Claim                                        Amount of Claim
 -NONE-                                                                                               $

C. The Chapter 13 Trustee's fee is determined by Order of the United States Attorney General. The calculation of the Plan payment
   set forth utilizes a 10% Trustee's commission.


V. UNSECURED CLAIMS

The general unsecured creditors shall receive a dividend of                  0   % of their claims.

 A. General unsecured claims:                                                                                 $   8,469.00

B. Undersecured claims arising after lien avoidance/cramdown:


 Creditor                                             Description of Claim                                        Amount of Claim
 -NONE-                                                                                                   $

C. Non-Dischargeable Unsecured Claims:

 Creditor                                             Description of claim                                        Amount of Claim
 -NONE-                                                                                                   $

 Total of Unsecured Claims (A + B + C):                                                                                      8,469.00
                                                                                                          $


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D. Multiply total by percentage: $       0.00
    (Example: Total of $38,500.00 x .22 dividend = $8,470.00)

E. Separately classified unsecured claims (co-borrower, etc.):

             Creditor                                         Description of claim                                         Amount of claim
             -NONE-                                                                                      $

             Total amount of separately classified claims payable at                    %                    $                         0.00


VI. OTHER PROVISIONS


            A. Liquidation of assets to be used to fund plan:


            B. Miscellaneous provisions:

                        In order to receive a distribution under the Plan, a Proof of Claim must be timely filed.

VII. CALCULATION OF PLAN PAYMENT

 A) Secured claims (Section I-A Total):                                                  $                               52,458.00
 B) Priority claims (Section II-A&B Total):                                              $                                    0.00
 C) Administrative claims (Section III-A&B Total):                                       $                                1,000.00
 D) Regular unsecured claims (Section IV-D Total):+                                      $                                    0.00
 E) Separately classified unsecured claims:                                              $                                    0.00
 F) Total of a + b + c + d + e above:                                                   =$                               53,458.00
 G) Divide (f) by .90 for total including Trustee's
 fee:
                                                      Cost of Plan=                      $                               59,398.20

                    (This represents the total amount to be paid into the Chapter 13 plan)
 H. Divide (G), Cost of Plan, by Term of Plan,                                          60 months
 I. Round up to nearest dollar for Monthly Plan                                          $                                  990.00
 Payment:
 (Enter this amount on page 1)

Pursuant to 11 U.S.C. § 1326(a) (1), unless the Court orders otherwise, a debtor shall commence making the payments proposed by a
plan within thirty (30) days after the petition is filed. Pursuant to 11 U.S.C. §1326(a)(1)(C), the debtor shall make preconfirmation
adequate protection payments directly to the secured creditor.


VIII. LIQUIDATION ANALYSIS

A. Real Estate:

 Address                                                                             Fair Market Value       Total Amount of Recorded Liens
                                                                                                                               (Schedule D)
 100 Taylor Street Quincy, MA 02170 Norfolk
 County                                                               $                     470,528.00   $                      404,127.00

 Total Net Equity for Real Property:                      $                 66,401.00
 Less Exemptions (Schedule C):                            $                 66,401.00
 Available Chapter 7:                                     $                      0.00




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B. Automobile (Describe year, make and model):

 2016 Toyota Camry 10,000 miles                           Value $           14,763.00 Lien $            0.00 Exemption $            14,763.00

 Total Net Equity:                                        $ 14,763.00
 Less Exemptions (Schedule C):                            $ 14,763.00
 Available Chapter 7:                                     $ 0.00

C. All other Assets (All remaining items on Schedule B): (Itemize as necessary)
 Household Furnishings
 Clothing
 Misc Jewelry
 Cash on hand
 Checking: Citizens Bank
 Deferred Comp: Empower Retirement
 Pension: Commonwealth of Massachusetts
 Term Life Insurance _ through Commonwealth of Massachusetts Pension

 Total Net Value:                                         $ 48,298.00
 Less Exemptions (Schedule C):                            $ 48,298.00
 Available Chapter 7:                                     $ 0.00

D. Summary of Liquidation Analysis (total amount available under Chapter 7):

 Net Equity (A and B) plus Other Assets (C) less all claimed exemptions: $                                   0.00

E. Additional Comments regarding Liquidation Analysis:



IX. SIGNATURES

Pursuant to the Chapter 13 rules, the debtor or his or her attorney is required to serve a copy of the Plan upon the Chapter 13
Trustee, all creditors and interested parties, and to file a Certificate of Service accordingly.

 /s/ Richard D. Smeloff                                                              March 23, 2016
 Richard D. Smeloff 567869ATY                                                             Date
 Debtor's Attorney
 Attorney's                   500 Granite Ave
 Address:                     Suites 7&8
                              Milton, MA 02186
                              Tel. #:         617-690-2124 Fax:617-690-2506
                              Email Address:

I/WE DECLARE UNDER THE PENALTIES OF PERJURY THAT THE FOREGOING REPRESENTATIONS OF FACT
ARE TRUE AND CORRECT TO THE BEST OF OUR KNOWLEDGE AND BELIEF.


 Date March 23, 2016                                                 Signature   /s/ Donald E Johnson
                                                                                 Donald E Johnson
                                                                                 Debtor




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                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Donald E Johnson                                                                          Case No.
                                                                                  Debtor(s)           Chapter    13



                                                                 CERTIFICATE OF SERVICE
I hereby certify that on March 31, 2016, a copy of the Plan was served electronically or by regular United States
mail to all interested parties, the Trustee and all creditors listed below.

 Bank od America
 Nc4-105-03-14
 Po Box 26012
 Greensboro, NC 27410
 Capital One
 Attn: Bankruptcy
 Po Box 30285
 Salt Lake City, UT 84130
 Capital One
 Attn: Bankruptcy
 Po Box 30285
 Salt Lake City, UT 84130
 Capital One
 Attn: Bankruptcy
 Po Box 30285
 Salt Lake City, UT 84130
 Chase Crad Services
 Po Box 15298
 Wilmington, DE 19050
 Credit One Bank Na
 Po Box 98873
 Las Vegas, NV 89193
 Ditech Financial Llc
 Po Box 6172
 Rapid City, SD 57709
 First Premier Bank
 601 S Minnesota Ave
 Sioux Falls, SD 57104
 Harmon Law Offices
 150 California Street
 Newton, MA 02458
 Merrick Bank/Geico Card
 Po Box 23356
 Pittsburg, PA 15222
 Synchrony Bank/Walmart
 Attn: Bankruptcy
 Po Box 103104
 Roswell, GA 30076
 Tribute/atlanticus
 Po Box 105555
 Atlanta, GA 30348



                                                                             /s/ Richard D. Smeloff
                                                                             Richard D. Smeloff 567869ATY
                                                                             Smeloff & Associates
                                                                             500 Granite Ave
                                                                             Suites 7&8
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